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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

   IRA KLEIMAN, as the personal representative          CASE NO.: 9:18-cv-80176-BB/BR
   of the Estate of David Kleiman, and W&K Info
   Defense Research, LLC

          Plaintiffs,

   v.

   CRAIG WRIGHT

          Defendant.

                                PLAINTIFFS’ MOTION TO SEAL
         At the June 28 and August 5, 2019 show cause hearings, Plaintiffs indicated to the Court

  they would be filing designated portions of (1) Jonathan Warren’s deposition transcript and (2)

  Craig Wright’s deposition transcripts (along with their corresponding exhibits).

         Despite Plaintiffs’ intention to rely on these transcripts and exhibits in their case, the

  Defendant has requested Plaintiff adhere to the Confidentiality Order (ECF No. [105-1]) for these

  filings. Plaintiffs do not agree any of these materials are appropriately deemed confidential or that

  these materials (which are intended to be part of the show cause hearing record) should be sealed.

         Nevertheless, due to Defendant’s demand, and the fact that the Defendant has marked some

  of the materials “Confidential,” Plaintiffs believe the Defendant should be afforded the opportunity

  to propose redactions to the Court. Accordingly, Plaintiffs make this motion to seal (1) the

  designated portions of Defendant’s deposition transcript, (2) its corresponding exhibits, and (3)

  exhibits 8, 9, 10 and 11 of the Jonathan Warren deposition to comply with the Stipulated

  Confidential Order and the Local Rules of this Court.

         WHEREFORE, Plaintiffs request Defendant be given 5 days to provide proposed

  redactions to the Court.
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   Dated August 13, 2019                            Respectfully submitted,

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                                                    Counsel to Plaintiffs Ira Kleiman as Personal
                                                    Representative of the Estate of David Kleiman
                                                    and W&K Info Defense Research, LLC.



                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on August 13, 2019, a true and correct copy of the foregoing
  was filed with CM/ECF, which caused a copy to be served on all counsel of record.


                                                    /s/ Velvel (Devin) Freedman
                                                    Velvel (Devin) Freedman




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